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                                                                                                       Edward F. Behm

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May 17, 2023

Hon. Tonianne J. Bongiovanni
Clarkson S. Fisher Federal Building
402 E. State Street, Room 2020
Trenton, NJ 08608

Re:          Bodyguard Productions, Inc., et al. v. RCN Telecom Services, LLC, et al.,
             No. 3:21-cv-15310-GC-TJB – Status Update

Dear Judge Bongiovanni,

By text order entered on April 26, 2023 (Dkt. 51), the Court ordered the parties to provide a status update
regarding discovery progress by May 26, 2023, after which the Court would address the issues of bifurcation
of discovery and the timing of any settlement conference. The parties write jointly to advise the Court that
they are continuing to work through discovery-related issues and will provide a more detailed status report
to the Court by June 28, 2023.

Defendants have been preparing a substantial production of documents and data relevant to their Digital
Millennium Copyright Act (“DMCA”) safe harbor defense, along with certain other categories of documents
requested by Plaintiffs. Defendants are also preparing written responses to recently served Interrogatories.
Defendants are diligently working to gather and prepare their production, but require additional time to
produce these materials due to the amount of data being collected and the technical nature of the
production.

Defendants expect to make this document production and serve its written discovery responses within the
next several weeks, and the parties agree that Plaintiffs should have an opportunity to review the production
before the parties provide a further update to the Court. Accordingly, the parties intend to provide this update
by June 28, 2023, unless the Court orders otherwise.

Sincerely,




Edward F. Behm

EFB




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